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                   IN THE UNITED STATES DISTRICT COURT
                FOR THE EASTERN DISTRICT OF PENNSYLVANIA

                                              :
RICHARD COLLINS,                              :
                          Plaintiff,          :
                                              :             Civil Action
                    v.                        :             No. 16-5671
                                              :
CITY OF PHILADELPHIA, et al.,                 :
                    Defendants.               :



                                       ORDER

      And now, this ________ day of ________________, ______, upon consideration of

Defendants Police Officer Michael Berkery, Sergeant Edward Pisarek, and Detective Keith

Scott’s Motion for Summary Judgment, and any response thereto, it is hereby ORDERED and

DECREED that Defendants’ Motion for Summary Judgment is granted and all of Plaintiff’s

claims are DISMISSED with prejudice.



                                                     BY THE COURT:



                                                     Robreno, J.




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                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA

                                                   :
RICHARD COLLINS,                                   :
                             Plaintiff,            :
                                                   :              Civil Action
                      v.                           :              No. 16-5671
                                                   :
CITY OF PHILADELPHIA, et al.,                      :
                    Defendants.                    :



               DEFENDANTS’ MOTION FOR SUMMARY JUDGMENT
             PURSUANT TO FEDERAL RULE OF CIVIL PROCEDURE 56

       Defendants Police Officer Michael Berkery, Sergeant Edward Pisarek, and Detective

Keith Scott (“Defendants”), by and through the undersigned counsel, hereby file this Motion for

Summary Judgment pursuant to Rule 56 of the Federal Rules of Civil Procedure and this

Honorable Court’s Policies and Procedures.

       Pursuant to Local Rule 7.1(c) Defendants hereby incorporate by reference the attached

Statement of Undisputed Facts and Memorandum of Law as though fully set forth at length.



                                                   Respectfully submitted,



Date: June 5, 2017                                    /s/ Aaron Shotland
                                                   Aaron Shotland
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                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA

                                                      :
RICHARD COLLINS,                                      :
                              Plaintiff,              :
                                                      :            Civil Action
                      v.                              :            No. 16-5671
                                                      :
CITY OF PHILADELPHIA, et al.,                         :
                    Defendants.                       :



        MEMORANDUM OF LAW IN SUPPORT OF DEFENDANTS’ MOTION
                    FOR SUMMARY JUDGMENT

       Defendants Police Officer Michael Berkery, Sergeant Edward Pisarek, and Detective

Keith Scott (“Defendants”), by and through undersigned counsel, hereby file this Memorandum

of Law in support of their Motion for Summary Judgment pursuant to Rule 56(b) of the Federal

Rules of Civil Procedure and Local Rule 7.1(c).

   I. Statement of Facts

   On March 23, 2013, at approximately 7:43pm, a white man armed with a black pistol robbed

the Red Sun Food Market located at 4552 Cottman Ave. PARS Report, p. 1. Shortly after the

robbery, the owner of the store, Xiu Mei Xiao, who was working the register at the time of the

robbery, provided a physical description of the suspect. She described the suspect as a white

male with a beard, wearing a tan coat and holding a black gun. Xiao Interview, p. 2. At 7:55pm,

Police Officer Michael Berkery stopped Richard Collins approximately 4/10 of a mile away at

7500 Torresdale Ave. because he met the flash description of the suspect. Pedestrian

Investigation Form 75-48A and Google Map. At approximately 8:10pm, Xiu Mei Xiao

positively identified Richard Collins as the man who robbed her at gun point. Id. and Collins

Deposition at 39:10-42:2. Due to Xiao’s positive identification of Plaintiff, he was arrested and

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processed. PARS. Plaintiff’s first filing in this case occurred on August 8, 2016 with a writ of

summons in the Pennsylvania Court of Common Please. See Civil Docket Attached, p. 3

   II. Procedural History

       This matter was originally filed in the Pennsylvania Court of Common Pleas on August

8, 2016, with a praecipe to issue a writ of summons. See Civil Docket Attached, p. 3. After

service of the Complaint on October 6, 2016, this matter was removed to Federal Court on

October 31, 2016. ECF Doc. 1. A motion to dismiss the City of Philadelphia was granted on

January 5, 2017, leaving the present Defendants in the case. In his Complaint, Plaintiff alleges

that he was falsely arrested and imprisoned by the Defendants on March 23, 2013, without

probable cause. Plaintiff also asserts a claim for violations of the Pennsylvania Constitution.

For the reasons discussed below, Plaintiff’s claims against Defendants fail as a matter of law.

   III. Legal Standard

       The court shall render summary judgment “if the pleadings, depositions, answers to

interrogatories, and admissions on file, together with the affidavits, if any, show that there is no

genuine issue as to any material fact and that the moving party is entitled to a judgment as a

matter of law.” Fed. R. Civ. P. 56(c). An issue is “genuine” only if there is a sufficient

evidentiary basis on which a reasonable jury could find for the non-moving party. Anderson v.

Liberty Lobby, Inc., 477 U.S. 242, 249 (1986). A factual dispute is “material” only if it might

affect the outcome of the suit under governing law. See id. All inferences must be drawn, and

all doubts resolved in favor of the non-moving party. See United States v. Diebold, Inc., 369

U.S. 654, 655 (1962); Gans v. Mundy, 762 F.2d 338, 341 (3d Cir. 1985).

       On motion for summary judgment, the moving party bears the initial burden of

identifying these portions of the record that it believes demonstrate the absence of material fact



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disputes. See Celotex Corp. v. Catrett, 477 U.S. 317, 323 (1986). To defeat summary judgment,

the non-moving party must respond with facts of record that contradict the facts identified by the

moving party, and may not rest on mere denials. See id. at 321, n.3; First Natl. Bank of Pa. v.

Lincoln Natl. Life Ins. Co., 824 F.2d 277, 282 (3d Cir. 1987).

        In a case where the non-moving party is the plaintiff and therefore bears the burden of

proof, the non-moving party must, by affidavits or by the depositions and admissions on file,

“make a showing sufficient to establish the existence of [every] element essential to that party’s

case.” Celotex, 477 U.S. at 322-24. The non-moving party must adduce more than a mere

scintilla of evidence in its favor to defeat the moving party’s summary judgment motion. See

Williams v. Borough of West Chester, Pa., 891 F.2d 458, 460 (3d Cir. 1989). Although all

justifiable inferences must be drawn in favor of the non-moving party, the "moving party is

entitled to summary judgment where no reasonable resolution of conflicting evidence and

inferences therefrom could result in a judgment for the non-moving party." Schwartz v. Hospital

of Univ. of Pa., 1993 WL 153810 at *2 (E.D. Pa. May 7, 1993). Furthermore, “[p]laintiff cannot

simply reassert factually unsupported allegations in its pleadings." Poles v. St. Joseph’s Univ.,

1995 WL 542246 at *5 (E.D. Pa. Sept. 11, 1995) (citing Celotex, 477 U.S. at 325).

    IV. Argument


    1. PLAINTIFF’S 4TH AMENDMENT CLAIMS AND STATE LAW FALSE
       ARREST AND FALSE IMPRISONMENT CLAIMS FAIL


             a. Defendants Police Officer Michael Berkery and Sgt. Edward Pisarek1’s
                Arrest of Plaintiff Was Made With Probable Cause Based On An Eye


1
  Defendant Detective Keith Scott had no involvement in the physical arrest of Plaintiff. His only involvement in
this matter is he interviewed witnesses, gathered evidence and prepared a Police Arrest Report (“PARS”).
Therefore, the false arrest and false imprisonment claims against him should be dismissed.

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               Witness’s Allegations, Which Were Sufficient to Warrant A Reasonable
               Person to Believe an Offense Had Been Committed By Plaintiff.

   Claims of both false arrest and false imprisonment are predicated on an arrest made without

probable cause in violation of the Fourth Amendment. Baker v. McCollan, 443 U.S. 137, 145

(1979); see also Groman v. Twp. Of Manalapan, 47 F.3d 628, 636 (3d Cir. 1995). Conversely, an

arrest supported by probable cause is not a constitutional violation and is therefore not a basis for

an action under § 1983. Therefore, the threshold question is whether the Plaintiff was deprived of

a right “secured by the Constitution and whether there was probable cause to arrest. Baker, 443

U.S. at 143-46 (arrests made on probable cause do not violate due process, and thus do not

violate § 1983); Groman, 47 F.3d at 634 (noting that in order to prevail on a false arrest claim

under § 1983 plaintiffs would have to prove police lacked probable cause to arrest).2

   Generally, the existence of probable cause is a question of fact for the jury. Montgomery v.

De Simone, 159 F.3d 120, 124 (3d Cir. 1998), citing Patzig v. O’Neil, 577 F.2d 841, 848 (3d Cir.

1978). However, if the evidence of probable cause, viewed in the light most favorable to the non-

moving party, “reasonably would not support a contrary factual finding,” the Court may find that

probable cause existed as a matter of law. Sherwood v. Mulvihill, 113 F.3d 396, 401 (3d Cir.

1997). Summary judgment is appropriate if a reasonable jury could not conclude that the police

lacked probable cause to arrest the plaintiff. Groman, 47 F.3d at 635.




       2
         The Pennsylvania State Law Claim for false arrest is similarly defeated by a showing of
probable case: A false arrest is defined as an arrest made without probable cause. McGriff v.
Vidovich, 699 A.2d 797, 799 n. 3 (Pa. Commw. 1997). False imprisonment is the unlawful
detention of another person. Renk v. City of Pittsburgh, 641 A.2d 289, 293 (Pa. 1994). "An
arrest based on probable cause would be justified, regardless of whether or not the individual
arrested was guilty or not." Id.

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   Probable cause to arrest is present when “the facts and circumstances within the arresting

officer’s knowledge are sufficient in themselves to warrant a reasonable person to believe that an

offense has been or is being committed by the person to be arrested.” Orsatti v. N.J. State Police,

71 F.3d 480, 483 (3d Cir. 1995). In making this determination, Courts must consider “the totality

of the circumstances presented, and assess the knowledge and information which the officers

possessed at the time of arrest, coupled with the factual occurrences immediately precipitating

the arrest.” United States v. Stubbs, 281 F.3d 109, 122 (3d Cir. 2002). Importantly, the

constitutionality of an arrest does not turn on whether the suspect actually committed a crime.

Baker, 443 U.S. at 145-46 (“[T]he Constitution does not guarantee that only the guilty will be

arrested. If it did, § 1983 would provide a cause of action for every defendant acquitted – indeed,

for every suspect released.”)

   Generally, police may rely on the statements of a victim or eyewitness to a crime when

making a probable cause determination as “it is well-established that when an officer has

received . . . information from some person – normally the putative victim or an eyewitness –

who it seems reasonable to believe is telling the truth, he has probable cause.” United States v.

Richards, No. 08-37, 2008 WL 3874302 at *2 (D.V.I. Aug. 15, 2008), citing Spiegel v. Cortese,

196 F.3d 171, 724 (7th Cir. 1999). “It is surely reasonable for a police officer to base his belief

in probable cause on a victim’s reliable identification of an attacker” since “it is difficult to

imagine how a police officer could obtain better evidence of probable cause than an

identification by name of assailants provided by a victim, unless, perchance, the officer were to

witness the crime himself.” Richards, 2008 WL 3874302, at *2, citing Torchinsky v. Siwinski,

942 F.2d 257, 262 (4th Cir. 1991).




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   Though the Court of Appeals has declined to adopt the blanket rule that a victim’s positive

identification of her assailant is always sufficient by itself to establish probable cause, the Court

recognizes that “a positive identification by a victim witness, without more, would usually be

sufficient to establish probable cause,” with the qualification that “independent exculpatory

evidence or substantial evidence of the witness’s own unreliability that is known by the arresting

officers could outweigh the identification such that probable cause would not exist.” Wilson v.

Russo, 212 F.3d 781, 790 (3d Cir. 2000).

        In this case, Police Officer Michael Berkery, and Sgt. Edward Pisarek, after receiving a

flash description of an armed robbery suspect, stopped Richard Collins because he matched the

description. Richard Collins was stopped only 12 minutes after the robbery and only four tenths

of a mile from where the robbery took place. Shortly thereafter, robbery victim Xiu Mei Xiao

positively identified Richard Collins as the person who robbed her store. As a result of Richard

Collins meeting the flash description of the suspect, his proximity to the robbery, and Xiu Mei

Xiao’s positive identification, Richard Collins was placed under arrest. Xiu Mei Xiao was

transported to North East Detectives, where she was interviewed by Detective Keith Scott at

10pm on March 23, 2013, and confirmed that Plaintiff Richard Collins was the individual that

robbed her store. Xiao Interview, p. 2.

       Based on Richard Collins meeting the flash description of the suspect and the information

provided by eye witness victim Xiu Mei Xiao, Richard Collins was arrested. As they were

permitted to do, Officer Berkery and Sgt. Pisarek relied on Xiu Mei Xiao’s allegations in placing

Richard Collins under arrest. The facts known to Officer Berkery and Sgt. Pisarek were

sufficient to warrant a reasonable person to believe that Richard Collins had participated in the

robbery based on the available information.



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        Plaintiff will likely argue in response to this motion that he was at a bank at the time of

the robbery, and that after showing the District Attorney proof of his whereabouts, the case was

dismissed. Defendants do not dispute this assertion, however, Plaintiff’s alibi was not known to

the police at the time of his arrest, and therefore does not invalidate the probable cause that

existed at the time of his arrest. It is irrelevant to the probable cause determination the exact crime

charged by the police or whether the suspect is later acquitted of the charges altogether. White v.

Brown, No. 08-606, 2010 WL 1718205, *4 (E.D. Pa. Apr. 28, 2010).

        Plaintiff will likely also argue that Detective Keith Scott’s investigation into the robbery was

flawed in many ways, including differences between the shoes worn by the robber in the surveillance

video and the shoes Richard Collins was wearing when he was arrested as well as the failure to

obtain fingerprints from the cash register. However, Plaintiff has no constitutional right to a police

investigation. See Whitehead v. City of Phila., No. 13-2167, 2014 WL 657486, at *2 (E.D. Pa. Feb.

19, 2014). Therefore, these arguments fail.

    There is no evidence that Officer Berkery or Sgt. Pisarek were aware of independent

exculpatory evidence or substantial evidence of Xiu Mei Xiao’s unreliability when they arrested

Richard Collins. The Defendant Officers simply took Xiu Mei Xiao’s allegations at face value,

and detained Richard Collins for further investigation into Xiu Mei Xiao’s allegations.        There is

no evidence to suggest that any action taken by Officer Berkery or Sgt. Pisarek violated Richard

Collins’s Fourth Amendment rights because probable cause existed for a reasonable officer to

believe that a crime had been committed, therefore, Counts I and II alleging false arrest and false

imprisonment should be dismissed.

            b. Police Officer Michael Berkery, Detective Keith Scott and Sgt. Edward
               Pisarek Are Entitled to Qualified Immunity




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    Even assuming Plaintiff’s Constitutional rights were violated, qualified immunity should

nonetheless be granted to Police Officer Michael Berkery, Sgt. Edward Pisarek, and Detective

Keith Scott. Government officials performing discretionary functions generally are “shielded

from liability for civil damages insofar as their conduct does not violate clearly established

statutory or constitutional rights of which a reasonable person would have known.” Harlow v.

Fitzgerald, 457 U.S. 800, 818 (1982). The doctrine of qualified immunity “seeks to ensure that

defendants reasonably can anticipate when their conduct may give rise to liability by attaching

liability only if the contours of the right violated are sufficiently clear that a reasonable official

would understand that what he is doing violates that right.” United States v. Lanier, 520 U.S.

259, 270-71 (1997) (internal quotations and citations omitted). Qualified immunity “protects ‘all

but the plainly incompetent or those who knowingly violate the law.’” Anderson v. Creighton,

483 U.S. 635, 638 (1987) (quoting Malley v. Briggs, 475 U.S. 335, 341 (1986)).

    In Saucier v. Katz, 533 U.S. 194 (2001), the Supreme Court discussed the two-step inquiry

which should be used to determine whether police officers can be held liable for an alleged

violation of plaintiff’s constitutional rights. Once it is established that a constitutional right has

been violated, the Court should consider whether the officer reasonably believed his actions were

legal under the circumstances. See also Showers v. Spangler, 182 F.2d 165, 171 (3d Cir. 2000);

Kim v. Gant, 1997 WL 535138 at *10 (E.D. Pa. 1997).

    The doctrine of qualified immunity is intended to give ample room for reasonable but

mistaken judgments by police officers. See Orsatti v. New Jersey State Police, 71 F.3d 480, 484

(3d Cir. 1995). As the Supreme Court pointed out in Saucier:

        The concern of the immunity inquiry is to acknowledge that reasonable mistakes
        can be made as to the legal constraints on particular police conduct. It is
        sometimes difficult for an officer to determine how the relevant legal doctrine,
        here excessive force, will apply to the factual situation the officer confronts. An

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        officer might correctly perceive all of the relevant facts but have a mistaken
        understanding as to whether a particular amount of force is legal in those
        circumstances. If an officer's mistake as to what the law requires is reasonable,
        however, the officer is entitled to immunity defense.

    Saucier, 121 S.Ct. at 2158. The officer’s subjective intent is immaterial to the qualified

immunity question. “Instead, ‘whether an official protected by qualified immunity may be held

personally liable for an allegedly unlawful action generally turns on the ‘objective legal

reasonableness’ of the action, assessed in light of the legal rules that were ‘clearly established’ at

the time it was taken.” Showers, supra, 182 F.2d at 172 (quoting Anderson, supra).

    Here, Plaintiff concedes that eye witness Xiu Mei Xiao identified him as robbing her store.

Plaintiff was stopped four tenths of a mile from the robbery only 12 minutes after it took place.

There can be no legitimate dispute that a reasonable police officer who knew these facts would

believe it was constitutionally impermissible to place Plaintiff under arrest based on Xiu Mei

Xiao identification. Plaintiff will likely argue that the Defendants lacked conclusive physical

evidence proving that Plaintiff committed the robbery however, that type of evidence is not a

required for a police officer to reasonably believe a crime has taken place. When an officer

obtains a positive identification from the victim determined to be credible, they are not required to

engage in further investigation before filing an affidavit of probable cause. Scott v. Farrell, No. 12-

6049, 2013 WL 6474488, *3 (E.D. Pa. Dec. 10, 2013) (citing Merkle, 211 F.3d at 790 n.8). An

officer is not required to conduct a “mini-trial” before an arrest. Bane v. City of Phila., No. 09-2798,

2009 WL 6614992, *7 (E.D. Pa. June 19, 2009).

    Even if Plaintiff could prove Police Officer Michael Berkery, Sgt. Edward Pisarek, and

Detective Keith Scott violated a clearly established right, they are still entitled to qualified

immunity because they “mistakenly but reasonably believed that their actions were

constitutionally permissible.” Hung v. Watford, No. 01-3580, 2002 WL 31689328, at *2 (E.D.


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Pa. Dec. 3, 2002). “If there is no genuine issue of fact as to whether defendant acted with such a

reasonable but mistaken belief, then he is entitled to qualified immunity regardless of whether

his actions actually were constitutional.” Hung, 2002 WL31689328, at *2 (citing Saucier, 533

U.S. at 206). Here, there is absolutely no evidence that Police Officer Michael Berkery, Sgt.

Edward Pisarek, or Detective Keith Scott acted without a reasonable belief that Plaintiff

committed the robbery. For the reasons stated above, Police Officer Michael Berkery, Sgt.

Edward Pisarek, and Detective Keith Scott actions are entitled to qualified immunity.

   2. PLAINTIFF’S CLAIMS ARE BARRED BY THE STATUTE OF LIMITATIONS.


       Claims brought pursuant to § 1983 are governed by the statute of limitations applicable to

state personal injury actions. Under Pennsylvania law, that period is two years. See Johnson v.

City of Philadelphia, 1997 WL 152790 (E.D. Pa. 1997); 42 Pa. C.S.A. § 5524. Under

Pennsylvania law, the statute of limitations for these types of claims are governed by 42 Pa.

C.S.A. § 5524 which provides a two year statute of limitations. In addition, the two year statute

applies to “[a]ny other action or proceeding to recover damages for injury to person or property

which is founded on negligent, intentional, or otherwise tortious conduct.” 42 Pa. C.S.A. §

5524(7).

       It is well established that the statute of limitations for any claim begins to run from the

time the plaintiff knew or reasonably should have known the cause of his injury. Bayless v.

Philadelphia National League Club, 579 F.2d 37 (3d. Cir. 1978); Mitchell v. Hendricks, 431

F.Supp. 1295, 1298 (E.D. Pa. 1977); Schaffer v. Larzelere, 410 Pa. 402, 189 A.2d 267 (1963);

Ayers v. Morgan, 397 Pa. 282, 154 A.2d 788 (1959); Maginley v. Philadelphia Gas Works, 1982

WL 290368, 8 Phila. Co. Rptr. 416, 418 (Pa.Com.Pl. 1982). The test consists of three parts: “(1)

knowledge of the injury; (2) knowledge of the actual element which cause the injury; and (3)

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knowledge of the causative relationship between the injury and the defendant’s conduct.”

Maginley, 8 Phila.Co. Rptr. at 419 (citing Volpe v. Johnson-Manville Corp., January Term, 1977

No. 2052, CCP Philadelphia (May 2, 1980)). In addition, the statute of limitations will not be

tolled due to a subsequent continuance of the wrong if the Plaintiff had knowledge of the earlier

injury. Id. at 420 (citing Daniels v. Beryllium, 211 F. Supp. 452, 455-56 (E.D. Pa. 1962)).

       Based on the foregoing, the Defendant is entitled to judgment on Plaintiff’s § 1983

claims and Pennsylvania state law claims. Plaintiff alleges that on March 23, 2013, he was

falsely arrested and imprisoned. See Complaint, ¶¶ 10-12. In accordance with the law, the

statute of limitations expired on March 23, 2015, two years after the alleged incident. Plaintiff

did not file the instant lawsuit until August 8, 2016, more than a year and four months after the

statute had run. See Civil Docket Report, p. 1 and 3. In view of the foregoing, Plaintiff’s

constitutional claims brought pursuant to § 1983 are time barred and should be dismissed with

prejudice. See Narducci v. Timoney, 1999 WL 961221 (E.D. Pa. 1999).

   3. PLAINTIFF’S CLAIMS UNDER THE PENNSYLVANIA CONSTITUTION FAIL

   There exists no private cause of action under Pennsylvania statutory authority for violations

of civil rights under the Pennsylvania Constitution. Jones v. City of Philadelphia, 890 A.2d 1188

(Pa. Cmwlth. 2006). Therefore, Plaintiff’s Count III claim against Defendants for violations of

Plaintiff’s Constitutional Rights under Article 1, Section 8 of the Pennsylvania Constitution fail

as a matter of law, as no such private cause of action exists.


       WHEREFORE, Defendants respectfully request that this Court grant his motion for

summary judgment and enter judgment in favor of the Police Officer Michael Berkery, Sgt.

Edward Pisarek, and Detective Keith Scott as to all counts.




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                                           Respectfully submitted,



Date: June 5, 2017                            /s/ Aaron Shotland
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                   IN THE UNITED STATES DISTRICT COURT
                FOR THE EASTERN DISTRICT OF PENNSYLVANIA

                                                :
RICHARD COLLINS,                                :
                          Plaintiff,            :
                                                :            Civil Action
                     v.                         :            No. 16-5671
                                                :
CITY OF PHILADELPHIA, et al.,                   :
                    Defendants.                 :


                             CERTIFICATE OF SERVICE

      I hereby certify that on this date I caused a copy of Defendants' Motion for Summary

Judgment to be filed electronically, such that the Motion is available for viewing and

downloading from the ECF System.




Date: June 5, 2017                                 /s/ Aaron Shotland
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